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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

WORLD WRESTLING                                         :
ENTERTAINMENT, INC.,                                    :
     Plaintiff,                                         :
                                                        :      3:10-cv-1399 (CFD)
                 v.                                     :
                                                        :
J.F. RAMOS –                                            :
REPRESENTACOES, LDA                                     :
       Defendant.                                       :


                              RULING ON MOTION TO DISMISS

I.     Introduction

       Plaintiff World Wrestling Entertainment (“WWE”) brings this declaratory judgment and

breach of contract action against defendant J.F. Ramos – Representações, LDA (“Ramos”).

WWE and Ramos entered into a licensing agreement that allows Ramos to distribute WWE

brand products. WWE was sued in France by one of Ramos’s customers, and now seeks a

declaration that Ramos is obligated under the parties’ license agreement to indemnify WWE for

all damages, attorneys’ fees and costs incurred in that action. Ramos moves to dismiss the case

for lack of subject matter jurisdiction, arguing the case is not yet ripe for judicial review.

II.    Background1

       WWE is a Delaware corporation with its principal place of business in Stamford,

Connecticut. WWE is an entertainment company which conducts professional wrestling

entertainment. WWE develops television programming, pay-per-view programming, and live

events, and licenses and sells consumer products featuring its brands. J.F. Ramos –


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           Unless otherwise stated, the following facts are taken from the Complaint.

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Representações, LDA is a Portuguese corporation that distributes a variety of licensed products

in Europe. WWE and Ramos entered into a license agreement dated January 1, 2009, with a

term to expire on December 31, 2010, granting Ramos the non-exclusive right to license and use

WWE’s intellectual property in connection with the manufacture and distribution of products

such as t-shirts, hats and gloves.

       Section A(2)(b) of the standard terms and conditions of the license agreement require that

Ramos obtain WWE’s pre-approval in order to sell and distribute any licensed products. Section

L(1)(a)(i) authorizes WWE to terminate the license agreement “[i]f Licensee has failed to comply

with any requirement of the approval process” described in Section A(2)(b). In 2009, Ramos

manufactured certain clothing containing WWE’s intellectual property that WWE alleges it was

unaware of, and that was not submitted for approval to WWE as required by the license

agreement. Ramos then sold this allegedly unauthorized clothing to a French company, Sun City,

CIE-DND (“Sun City”), which in turn sold the clothing to various French supermarkets. When

WWE became aware of the sale of the counterfeit clothing, it sent a cease-and-desist letter to Sun

City. Sun City then asked Ramos if the counterfeit clothing had been approved, and in response,

Ramos allegedly provided fraudulent documents to Sun City which falsely showed that WWE

had approved the products.

       On July 19, 2010, WWE was served with a complaint filed by Sun City in the Paris Court

of First Instance (referred to as “underlying action”). In the underlying action, Sun City brought

claims against WWE as well as four other French and German companies, alleging that the

defendants engaged in unfair competition by partitioning the French and European market for

WWE merchandise. Sun City also claims that WWE engaged in unfair commercial practices by


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diverting Sun City’s customers through false accusations of counterfeiting. Sun City seeks

damages against WWE in excess of 17 million Euros.

        Section (H)(1) of the standard terms and conditions of the licensing agreement between

WWE and Ramos requires Ramos to indemnify WWE for its losses, damages, attorneys’ fees,

and similar costs for any claim against WWE arising from Ramos’s unauthorized use of the

licensed products. Section H(1) provides:

        Licensee will be solely responsible for and will indemnify, defend, and hold WWE and its
        licensees, successors and assigns, parent corporations, member corporations, subsidiaries
        and affiliates and its and their respective officers, directors, members, employees,
        advertisers, insurers and representatives harmless from any and all claims, suits,
        liabilities, judgments, penalties, losses, costs, damages, and expenses resulting therefrom,
        including reasonable attorneys’ fees (including an appropriate allocation for in-house
        counsel and paralegal fees) arising from or by reason of or in connection with the
        manufacture, distribution, advertising, promotion, offering for sale and sale of the
        Licensed Products . . .

        On September 2, 2010, WWE notified Ramos that it was terminating Ramos’s license

agreement for, among other things, Ramos’s breach of Section A(2)(b) of the standard terms and

conditions of the licensing agreement. WWE also filed this present action, seeking a declaration

of Ramos’s obligations under the indemnification provisions of the licensing agreement, and

damages for Ramos’s breach of contract in the amount of the attorneys’ fees and costs already

incurred in the underlying action.

        Ramos filed this motion to dismiss or in the alternative, to stay proceedings, arguing that

WWE’s claims are not yet ripe for judicial review, given the pendency of the underlying

litigation in France.

III.    Applicable Law and Discussion

        Ramos bring its motion to dismiss pursuant to Rule 12(b)(1) of the Federal Rules of Civil


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Procedure, arguing the Court lacks subject matter jurisdiction because the case is not yet ripe for

judicial review. Under that rule, a case is properly dismissed “when the court lacks the statutory

or constitutional power to adjudicate the case.” Nowak v. Ironworkers Local 6 Pension Fund, 81

F.3d 1182, 1187 (2d Cir. 1996). As with a motion to dismiss pursuant to Rule 12(b)(6), “the

court must take all facts alleged in the complaint as true and draw all reasonable inferences in

favor of [the] plaintiff.” Raila v. United States, 355 F.3d 118, 119 (2d Cir. 2004). Both the

moving and non-moving parties “may use affidavits and other materials beyond the pleadings

themselves in support of or in opposition to a challenge to subject matter jurisdiction.” Matos v.

United States Dept. of Housing & Urban Dev., 995 F. Supp. 48, 49 (D. Conn. 1997) (citing Land

v. Dollar, 330 U.S. 731, 735 (1947)).

       “Ripeness is a jurisdictional inquiry” because it “is a doctrine rooted in both Article III’s

case or controversy requirement and prudential limitations on the exercise of judicial authority.”

Murphy v. New Milford Zoning Comm’n, 402 F.3d 342, 347 (2d Cir. 2005). The ripeness

doctrine’s “basic rationale is to prevent the courts, through avoidance of premature adjudication,

from entangling themselves in abstract disagreements.” Abbott Laboratories v. Gardner, 387 U.S.

136, 148 (1967), overruled on other grounds, Califano v. Sanders, 430 U.S. 99 (1977). Ripeness,

therefore, is “peculiarly a question of timing” as cases may later become ready for adjudication

even if deemed premature on initial presentation. Reg’l Rail Reorganization Act Cases, 419 U.S.

102, 140 (1974).

       The Declaratory Judgment Act provides a statutory basis for granting declaratory relief

“[i]n a case of actual controversy within its jurisdiction.” 28 U.S.C. § 2201(a). To decide

whether an action for declaratory judgment is ripe for review, the U.S. Court of Appeals for the


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Second Circuit has instructed district courts to ask: “(1) whether the judgment will serve a useful

purpose in clarifying or settling the legal issues involved; and (2) whether a judgment would

finalize the controversy and offer relief from uncertainty.” Duane Reade, Inc. v. St. Paul Fire and

Marine Ins. Co., 411 F.3d 384, 389 (2d Cir. 2005).2 Even if a district court determines that it

does have jurisdiction to hear a declaratory judgment action, the court may nevertheless refuse to

exercise jurisdiction. Dow Jones & Co., Inc. v. Harrods Ltd., 346 F.3d 357, 359 (2d Cir. 2003)

(noting that courts have consistently interpreted the “permissive language” of 28 U.S.C. §

2201(a) “as a broad grant of discretion to district courts to refuse to exercise jurisdiction over a

declaratory judgment action that they would otherwise be empowered to hear”).

       In general, federal courts have held that declaratory judgments are appropriate means to

determine indemnification obligations even before any underlying liability has been established.

This question arises most frequently in cases regarding insurance coverage. See, e.g., Associated

Indem. Corp. v. Fairchild Industries, Inc., 961 F.2d 32, 35 (2d Cir. 1992) (“[L]itigation over

insurance coverage has become the paradigm for asserting jurisdiction despite future

contingencies that will determine whether a controversy ever actually becomes real.”) (internal

citation omitted). Courts have also reached the same conclusion when the indemnity obligation

stems from a contract that is not an insurance policy. See Rosen v. Mega Bloks Inc., No. 06-cv-

3474, 2009 WL 929474 at *4 (S.D.N.Y. Apr. 7, 2009) (the fact that a contractual indemnity

obligation rather than an insurance policy was at issue was not a distinction that affected the


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          Ramos argues in its brief that the ripeness test requires courts to consider the balance of
hardships on the parties if review of the claim is delayed. While this is a prong of the general test
for ripeness articulated by the U.S. Supreme Court in Abbott Laboratories, the more specific test
articulated by the Second Circuit for determining the ripeness of declaratory judgment actions
governs here.

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“case or controversy” analysis).

       The complex nature of the underlying action in this case distinguishes it from the more

straightforward declaratory judgment actions which deal with an insurance coverage “paradigm.”

In the paradigmatic insurance case, the court may issue a declaratory judgment on the insurer’s

indemnification obligations despite not yet knowing whether the insured may ultimately be found

liable for damages. Such a declaration serves a useful purpose in clarifying or settling the legal

issues involved, because after the declaratory judgment, the insured knows out of whose

pocket—his or his insurer’s—any damages and costs of defense will be paid. In this case, even

were the Court to determine the scope of Ramos’s indemnification obligation pursuant to its

licensing agreement with WWE, such a declaration would not do much to clarify which party

will be responsible if Sun City prevails in the underlying litigation. Only some of Sun City’s

claims in the underlying litigation relate to allegations that Ramos sold products in violation of

its licensing agreement. Other claims allege that the structure of WWE’s licensing agreements

unfairly partitioned the French market in violation of French and European law. Any declaration

by this Court about the extent of Ramos’s obligations under its licensing agreement with WWE

would not substantially clarify who—WWE or Ramos—is obligated to pay Sun City if Sun City

ultimately prevails in the French litigation. Because any declaration would, at best, only

tentatively clarify legal issues involved in the underlying suit, and would not offer WWE relief

from uncertainty, the Court exercises its discretion and finds this declaratory judgment action is

not appropriate at this time.

       IV.     Conclusion

       For the reasons set forth above, the defendant’s motion to dismiss [Dkt. # 10] is


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GRANTED, without prejudice.



      SO ORDERED this 30th day of August 2011, at Hartford, Connecticut.



                                 /s/ Christopher F. Droney
                                 CHRISTOPHER F. DRONEY
                                 UNITED STATES DISTRICT JUDGE




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